Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 1 of 12



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                             Case No. 0:14-cv-60867-FAM

  LYNDA DAVIS, individually and as attorney-in-fact
  for DOROTHY DAVIS, an individual,

         Plaintiffs,

  v.

  SOUTHPOINT CONDOMINIUM ASSOCIATION, INC.,

        Defendant.
  ___________________________________________________/

       DEFENDANT’S MOTION TO STAY PROCEEDINGS PENDING AWARD AND
       PAYMENT OF ATTORNEYS’ FEES AND COSTS PURSUANT TO RULE 41(D)

         Defendant,        SOUTHPOINT                      CONDOMINIUM                         ASSOCIATION,                      INC.   (“the

  Association”), pursuant to Rule 41(d) of the Federal Rules of Civil Procedure, and in accordance

  with Local Rule 7.1, hereby moves this Court for the entry of an order staying the instant

  proceedings, pending the award and payment of the Association’s attorneys’ fees and costs

  incurred in a voluntarily dismissed action previously pending in this very Court, which was

  litigated for seven months between the same parties, and which included the same claims against

  the Association, and in support thereof, states as follows:1

                                                        BACKGROUND

         1.      The Association is a four hundred (400)–unit condominium association located in

  Fort Lauderdale, Florida.




  1
    In the alternative, in the event this Court determines that Rule 41(d) does not apply to the facts
  giving rise to this Motion, the Association respectfully requests a fourteen (14) day extension of
  time, starting from the date this Court rules on the instant Motion, to respond to the Complaint in
  the instant action.

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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 2 of 12
                                                                                                    Case No. 0:14-cv-60867-FAM

         2.      Plaintiffs, Lynda Davis and Dorothy Davis, are former residents of the

  Association.

         3.      The Association’s governing documents generally to do not permit its residents to

  reside with pets.

         4.      On or about November 21, 2011, Plaintiffs made a request to the Association to

  permit Plaintiffs to reside with an alleged service dog.

         5.      While the Association did not deny Plaintiffs’ request for accommodation, Lynda

  Davis, on behalf of Dorothy Davis, filed a complaint with the Broward County Human Rights

  Section (“BCHRS”), alleging housing discrimination based on the Association’s alleged failure

  to grant Plaintiffs’ request for accommodation.

         6.      After conducting an investigation of Plaintiffs’ Complaint, and, again, while the

  Association at no point denied Plaintiffs’ request for an accommodation, BCHRS issued a

  Determination of Reasonable Cause, and issued a Statement of Charge on April 16, 2013.

         7.      Following the Association’s election to have the dispute decided in a civil action

  before a federal district court on May 7, 2013, the BCHRS, on behalf of Plaintiffs, filed a

  complaint against the Association in the United States District Court for the Southern District of

  Florida, Case No. 0:13-cv-61750-RSR (“Davis I”) on August 13, 2013, seeking an award of

  monetary damages to Dorothy Davis, attempting to set forth the following causes of action

  against the Association: 1) alleged violation of 42 U.S.C. § 3604(f)(3)(B) (Count I); 2) alleged

  violation of Subsections 161/2-35(g) & (h) of the Broward County Human Rights Act

  (“BCHRA”) (Count II); 3) alleged violation of 42 U.S.C. § 3617 (Count III); and 4) alleged

  violation of Subsection 161/2-36 of the BCHRA (Count IV). See generally Davis I Compl.,

  attached hereto as Ex. “1.”


                                                                      -2-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 3 of 12
                                                                                                   Case No. 0:14-cv-60867-FAM

         8.      The Association subsequently filed a Motion to Dismiss the Complaint in Davis I,

  based on the following grounds: 1) the initial Complaint was untimely filed, as it was filed more

  than ninety (90) days after the Association filed its notice of election; and 2) Plaintiffs’ alleged

  intimidation claims under 42 U.S.C. § 3617 and Subsection 161/2-36 of the BCHRA failed to

  allege any direct action by the Association, which could possibly constitute an “interference,” as

  required by applicable law. See Mot. to Dismiss, attached hereto as Ex. “2.”

         9.      After the Association filed its Motion to Dismiss the Complaint in Davis I,

  Plaintiffs served the Association with voluminous discovery requests, including a First Set of

  Interrogatories and Request for Production, requesting the Association to produce documents

  created or received over the course of many years.

         10.     In light of the Association’s pending Motion to Dismiss, in a good faith effort to

  avoid incurring any unnecessary fees and costs associated with discovery on claims that could

  ultimately be dismissed by the Court, the Association conferred with Plaintiffs’ counsel at the

  time (“Plaintiffs’ prior counsel”) to determine if Plaintiffs may be willing to stay discovery

  pending a ruling on the Association’s Motion to Dismiss, as responding to Plaintiffs’ voluminous

  discovery requests would require the Association and the undersigned to expend an inordinate

  amount of hours drafting responses and reviewing responsive documents.

         11.     While Plaintiffs agreed to a forty-five (45) day extension of time for the

  Association to serve its discovery responses, Plaintiffs did not agree to stay all discovery pending

  a ruling on the Association’s Motion to Dismiss.

         12.      As a result of the foregoing, and as responding to Plaintiffs’ voluminous

  discovery requests would require the Association to potentially incur substantial unnecessary

  attorneys’ fees, on December 23, 2013, the Association filed a Motion to Stay Discovery,


                                                                     -3-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 4 of 12
                                                                                                   Case No. 0:14-cv-60867-FAM

  requesting that the Court enter an order staying all discovery until such time the Court had ruled

  on the Association’s Motion to Dismiss. See Mot. to Stay Disc., attached hereto as Ex. “3.”

         13.       On January 2, 2014, the Court issued an Order denying the Association’s

  Motion to Stay Discovery, but authorizing an extension of time for the Association to serve its

  discovery responses through and including February 10, 2014.

         14.     Both prior, and subsequent, to the Court’s Order Denying the Association’s

  Motion to Stay Discovery, the Association incurred substantial attorneys’ fees preparing its

  responses to Plaintiffs’ voluminous discovery requests, which were ultimately served on

  Plaintiffs on February 10, 2014, pursuant to the Court’s Order.

         15.     Of particular significance to the instant Motion, after the Association served its

  discovery responses, Plaintiffs’ prior counsel suggested to the undersigned that Plaintiffs may

  soon be formally retaining different counsel, and despite the undersigned’s requests that any

  further discovery be limited or stayed in light of foregoing, Plaintiffs demanded that the

  Association provide Plaintiffs with better discovery responses as soon as possible.

         16.     In a good faith effort to avoid Court intervention regarding Plaintiff’s purported

  issues with the Association’s discovery responses, the Association agreed to supplement certain

  of its discovery responses, and incurred significant additional attorneys’ fees preparing same.

         17.     Notwithstanding that Plaintiffs were well aware that the Association and the

  undersigned had spent many hours compiling the Association’s responses and better responses to

  Plaintiffs’ voluminous discovery requests, and notwithstanding that the Association’s Motion to

  Dismiss was still pending, on April 11, 2014, Plaintiffs, through different counsel, in an overt

  attempt to forum shop and/or otherwise prejudice the Association, filed the instant action against

  the Association (“Davis II”). [See ECF No. 1].


                                                                     -4-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 5 of 12
                                                                                                   Case No. 0:14-cv-60867-FAM

         18.     Specifically, the Davis II Complaint sets forth nearly identical factual allegations

  against the Association as set forth in Davis I, and attempts to set forth one cause of action

  against the Association for an alleged violation of 42 U.S.C. § 3604(f)(3)(B) (Count I) (i.e.,

  which was one of the four (4) counts contained in the Davis I Complaint). See id.

         19.     Further, in an apparent attempt to avoid any ruling on the dispositive issues set

  forth in the Association’s Motion to Dismiss filed in Davis I (one of which is whether Plaintiffs

  forfeited their right to maintain any civil action against the Association at all), in Davis II,

  Plaintiffs voluntarily chose not to assert any failure-to-accommodate claim under the BCHRA, or

  claims for alleged intimidation under intimidation claims under 42 U.S.C. § 3617 and Subsection

  161/2-36 of the BCHRA. See id.

         20.     The undersigned was first made aware of Davis II on or about April 15, 2014,

  when Plaintiffs’ prior counsel reached out to the undersigned, and indicated that another lawsuit

  was filed.

         21.     The following day, on April 16, 2014, Plaintiffs’ prior counsel reached out to the

  undersigned again, and indicated that she would be filing a Notice of Voluntary Dismissal of

  Davis I, and further provided the undersigned with a draft Notice of Voluntary Dismissal,

  proposing that the parties bear their own fees and costs incurred in Davis I.

         22.     Surprised and confused by Plaintiffs’ course of action in filing a separate lawsuit

  in the very same Court containing the very same allegations asserted in Davis I (rather than

  simply filing a Notice of Substitution of Counsel), the undersigned subsequently advised

  Plaintiffs’ prior counsel that while Plaintiffs may file a Notice of Dismissal if they choose to do

  so, the Association would not agree to the filing of a Notice of Voluntary Dismissal of Davis I,

  particularly if the Notice would provide that the parties bear their own fees and costs.


                                                                     -5-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 6 of 12
                                                                                                    Case No. 0:14-cv-60867-FAM

         23.     Thereafter, on April 17, 2014, Plaintiffs’ prior counsel filed a Notice of Voluntary

  Dismissal of Davis I, which did not include any language concerning the parties’ fees and costs

  incurred therein. See Not. Vol. Dismissal, attached hereto as Ex. “4.”

         24.     The following day, the Court entered a Final Order dismissing Davis I without

  prejudice, and dismissing all pending motions (including the Association’s Motion to Dismiss

  the Davis I Complaint) as moot. See Final Order, attached hereto as Ex. “5.”

         25.     Over the course of seven months, from the date Davis I was filed (August 18,

  2013) through the date Plaintiffs’ filed their Notice of Voluntary Dismissal (April 17, 2014), the

  parties engaged in extensive litigation, and the Association incurred approximately $33,307.00 in

  attorneys’ fees in the defense of Davis I, exclusive of any fees incurred in the administrative

  proceedings before the BCHRS.2

         26.     As discussed in further detail below, because the filing of Davis II is an overt

  attempt by Plaintiffs to forum shop, and as the Association will be extremely prejudiced by

  essentially be forced to re-litigate Plaintiffs’ case and incur significant additional attorneys’ fees

  and costs, this Court should, most respectfully, enter an order staying the instant proceedings,

  pending an award and payment of the Association’s attorneys’ fees and costs incurred in Davis I.




  2
    Please note because Plaintiffs filed their Notice of Voluntarily Dismissal on April 16, 2014, and
  as the Association incurred significant fees in the defense of Davis I during the month of April
  prior to the filing of the Notice of Dismissal (including, but not limited to, preparing the
  Association’s better responses to Plaintiffs’ voluminous discovery requests), the Association
  cannot confirm the exact amount of fees incurred in connection with Davis I through April 2014
  at this time, as an invoice including April time has not been generated. Immediately after said
  invoice has been generated, however, the Association will file a Notice with the Court
  confirming the exact amount of attorneys’ fees incurred by the Association in the defense of
  Davis I.
                                                                      -6-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 7 of 12
                                                                                                   Case No. 0:14-cv-60867-FAM


                                              MEMORANDUM OF LAW

  I.     The Association Is Entitled to An Award of Its Attorneys’ Fees and Costs Incurred
         in Davis I.

  Rule 41(d) provides, in pertinent part:

                 If a plaintiff who has once dismissed an action in any court
                 commences an action based upon or including the same
                 claim against the same defendant, the court:

                 (1) may order the plaintiff to pay all or part of the costs of
                     that previous action; and

                 (2) may stay the proceedings until the plaintiff has
                     complied.

  Id.; U.S. Sur. Co. v. Global Egg Corp., 8:12-CV-2574-T-33EAJ, 2013 WL 388715 at *3 (M.D.

  Fla. Jan. 31, 2013) (“Under Rule 41(d), if [a plaintiff] attempts to file another action ‘based on or

  including the same claim against the same defendant,’ the court in the newly-filed action ‘may

  order the plaintiff to pay all or part of the costs of that previous action and may stay the

  proceedings until the plaintiff has complied.’”) (citing Fed. R. Civ. P. 41(d)).

         The Court has broad discretion to award fees and costs and, when faced with a scenario

  where a plaintiff dismisses and re-files certain claims in a separate action, against the same

  defendant, should evaluate whether the facts surrounding the case justify an award of costs under

  Rule 41(d) to prevent prejudice to the defendant. See Wishneski v. Old Republic Ins. Co., No.

  5:06–cv–148, 2006 WL 4764424, at *2 (M.D. Fla. Oct. 10, 2006) (citing Pontenberg v. Boston

  Scientific Corp., 252 F.3d 1253, 1256 n. 2, 1260 (11th Cir. 2001)). See also Groom v. Bank of

  America, No. 8:08–cv–2567–T–27EAJ, 2010 WL 627564, at *1 (M.D. Fla. Feb. 23, 2010)

  (“Rule 41(d) expressly contemplates the prejudicial impact on a defendant when a plaintiff

  dismisses and re-files against that defendant.”). “The purpose of imposing costs on a plaintiff

  [pursuant to Rule 41(d)] who previously has dismissed an action against the same defendant,

                                                                     -7-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 8 of 12
                                                                                                   Case No. 0:14-cv-60867-FAM

  based upon the same claim, is to deter forum shopping and vexatious litigation.” 9 Charles Alan

  Wright & Arthur R. Miller, Federal Practice and Procedure § 2375, Costs of Previously

  Dismissed Action (3d ed. 2011).                    “Rule 41(d) promotes the just, speedy and inexpensive

  determination of every action by deterring plaintiffs from changing forums mid-litigation and

  forcing a new court to start from scratch, thus wasting litigant expenses and judicial resources.”

  Cadle Co. v. Buery, 242 F.R.D. 695, 698 (S.D. Ga. 2007).

         In the instant case, the plain language of Rule 41(d) empowers this Court to require

  Plaintiffs to pay all or part of the costs incurred by the Association in Davis I, as a condition to

  re-filing the same claims against the Association in Davis II, and further authorizes this Court to

  stay Davis II until Plaintiffs comply with this condition.                                   Id. Specifically, Plaintiffs have

  voluntarily dismissed Davis I and have commenced Davis II, attempting to assert the same

  claims against the Association as asserted in Davis I, i.e., alleged violation of 42 U.S.C. §

  3604(f)(3)(B). Compare Davis I Compl. and ECF No. 1.

         Additionally, in the instant case, “costs” under Rule 41(d) should include the

  Association’s reasonable attorneys’ fees, as Plaintiff have not only engaged in overt forum

  shopping by filing the very same claims against the Association in a separate lawsuit, in the very

  same federal district, but have also forced the Association to suffer prejudice by unnecessarily

  incurring many thousands of dollars in fees litigating Davis I, including, but not limited to,

  preparing responses, as well as better responses, to Plaintiffs’ voluminous discovery requests.

  McCants v. Ford Motor Co., 781 F. 2d 855 (11th Cir. 1986) (“Costs may include all litigation-

  related expenses incurred by the defendant, including reasonable attorneys’ fees.”); Shaker Vill.

  Condo. Ass’n, Inc. v. Certain Underwriters at Lloyd’s, 08-61935-CIV, 2009 WL 2835185 (S.D.

  Fla. Sept. 1, 2009) (awarding attorneys’ fees to the defendant as part of the defendant’s costs


                                                                     -8-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 9 of 12
                                                                                                    Case No. 0:14-cv-60867-FAM

  under Rule 41(d), where plaintiff voluntarily dismissed its state court action, and filed a federal

  court action asserting the same claims asserted in the voluntarily dismissed state court action, in

  addition to other claims); Moss v. Saks Fifth Avenue, 2:06CV668 FTM29SPC, 2007 WL

  1141510 at n. 1 (M.D. Fla. Apr. 17, 2007) (“The Court notes that should plaintiffs re-file this

  case in federal court, attorney fees may be awarded under Fed. R. Civ. P. 41(d).”); Cadle Co. v.

  Beury, 242 F.R.D. 695, 698 (S.D. Ga. 2007) (“Rule 41(d) gives the Court discretion to grant

  attorney’s fees, as it may deem proper, as part of the “costs of the action previously dismissed.”).

  Cf. Wishneski v. Old Republic Ins. Co., 2006 WL 4764424, at *4 (M.D. Fla. Oct. 10, 2006)

  (declining to award attorneys’ fees as costs under Rule 41(d) where there was a complete

  absence of any “showing of bad faith or vexatious conduct,” and where “no discovery had taken

  place in the case previously filed and dismissed . . . nor had there been any substantial motion

  practice in the case”).

         Rather than filing Davis II, Plaintiffs could have simply filed a Notice of Substitution of

  Counsel, along with a Notice of Withdrawal of Counts II through IV in Davis I. Instead,

  Plaintiffs chose to file an entirely separate action asserting the same claims against the

  Association which, in turn, brought their claims asserted in Davis I before a different Judge in

  Davis II, without any basis whatsoever, and then voluntarily dismissed Davis I. This strategy of

  forum shopping and vexatious litigation is exactly what Rule 41(d) was designed to prevent.

         Further, although Plaintiffs were well aware at the time they were aggressively seeking

  voluminous discovery from the Association:                              1) that Plaintiffs were considering obtaining

  different counsel; 2) that the said voluminous discovery was related to claims subject to

  Association’s pending Motion to Dismiss the Davis I Complaint; and 3) that the undersigned

  requested to limit or stay discovery in light of Plaintiff’s prior counsel’s assertions that Plaintiffs


                                                                      -9-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 10 of 12
                                                                                                    Case No. 0:14-cv-60867-FAM

  may be retaining different counsel soon, Plaintiffs relentlessly continued to attempt to obtain

  responses to their voluminous discovery and, after obtaining same, aggressively pursued better

  discovery responses, forcing the Association to unnecessarily incur many thousands of dollars in

  attorneys’ fees.      If Davis II is permitted to proceed forward without an award of the

  Association’s fees and costs incurred in Davis I, the Association will be exceptionally

  prejudiced, as the Association will be essentially forced to re-litigate Plaintiffs’ claims from

  scratch, wasting the Association’s and this Court’s resources.

         For all of these reasons, pursuant to Rule 41(d) and this Court’s inherent authority, this

  Court should, most respectfully, enter an order granting this Motion:                                                    1) awarding the

  Association its reasonable attorneys’ fees and costs incurred in Davis I; and 2) staying Davis II

  until Plaintiffs have fully paid such fees and costs.

  II.    The Attorneys’ Fees and Costs the Association Is Seeking Are Recoverable.

         The Association incurred a total of approximately $33,320.75 in defense of Davis I, from

  the time Davis I was filed (August 18, 2013) through the date Plaintiffs’ filed their Notice of

  Voluntary Dismissal (April 17, 2014), exclusive of any fees incurred in the administrative

  proceedings before the BCHRS.                       This amount reflects attorneys’ fees in the amount of

  approximately $33,307.00, which are reasonable in connection with the work performed.

         This legal work consisted of preparing and managing the Association’s defense of Davis

  I from its commencement through and until the date Plaintiffs’ filed their Notice Voluntary

  Dismissal, including, but not limited to, the preparation of the Association’s Motion to Dismiss

  the Davis I Complaint, the preparation of the Association’s Reply in Support of the Association’s

  Motion to Dismiss, the preparation of the Association’s responses and better responses to

  Plaintiffs’ voluminous discovery requests, the analysis of voluminous Association documents


                                                                     -10-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 11 of 12
                                                                                                     Case No. 0:14-cv-60867-FAM

  potentially responses to Plaintiff’s discovery requests (dating back many years), as well as the

  preparation of documents required by the Federal Rules of Civil Procedure and this Court’s

  Local Rules, including, but not limited to, Initial Disclosures the parties’ Joint Interim Status

  Report.

            As mentioned above, because Plaintiffs filed their Notice of Voluntarily Dismissal on

  April 16, 2014, and as the Association incurred significant fees in the defense of Davis I during

  the month of April prior to the filing of the Notice of Dismissal (including, but not limited to,

  preparing the Association’s better responses to Plaintiffs’ voluminous discovery requests), the

  Association cannot confirm the exact amount of fees incurred in connection with Davis I through

  April 2014 at this time, as an invoice including April time has not been generated. Immediately

  after said invoice has been generated, however, the Association will file a Notice with the Court

  confirming the exact amount of attorneys’ fees incurred by the Association in the defense of

  Davis I.

            WHEREFORE Defendant, SOUTHPOINT CONDOMINIUM ASSOCIATION, INC.,

  respectfully requests this Court grant this Motion, and enter an order pursuant to Rule 41(d) and

  this Court’s inherent authority: 1) awarding the Association its attorneys’ fees and costs incurred

  in Davis I; and 2) staying the instant proceedings until such fees and costs are fully paid by

  Plaintiffs.3




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    In the alternative, as mentioned above, in the event this Court determines that Rule 41(d) does
  not apply to the facts giving rise to this Motion, the Association respectfully requests a fourteen
  (14) day extension of time, starting from the date this Court rules on the instant Motion, to
  respond to the Complaint in the instant action.
                                                                      -11-
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Case 0:14-cv-60867-FAM Document 8 Entered on FLSD Docket 05/07/2014 Page 12 of 12
                                                                                                          Case No. 0:14-cv-60867-FAM

  Dated: May 7, 2014                               Respectfully submitted,

                                                   By: s/Craig C. Minko
                                                       Scott A. Bassman, Esq. (Florida Bar Number: 232180)
                                                       Attorney E-mail address: scott.bassman@csklegal.com
                                                       Craig C. Minko, Esq. (Florida Bar Number: 84499)
                                                       Attorney E-mail address: craig.minko@csklegal.com
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                                                       Telephone: (954) 703-3703
                                                       Facsimile: (954) 703-3701
                                                       Attorney for Defendant Southpoint Condominium
                                                       Association, Inc.



                                                   CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I electronically filed the foregoing on May 7, 2014, with the

  Clerk of Court using CM/ECF, which will send a notice of electronic filing to: Marcy I.

  LaHart, Esq., marcy@floridaanimallawyer.com, 4804 SW 45th Street, Gainesville, FL 32608;

  and Robert N. Hartsell, Esq., Robert@hartshell-law.com, Sarah M. Hayter, Esq.,

  sarah@hartshell-law.com, 1600 S. Federal Highway, Suite 921, Pompano Beach, FL 33062

                                                           s/Craig C. Minko

  SAB/CCM
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